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                        EXHIBIT A
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

      IN RE PAYMENT CARD INTERCHANGE
      FEE AND MERCHANT DISCOUNT                                No. 05-md-01720 (MKB) (JO)
      ANTITRUST LITIGATION

      This Document Relates to: All Cases.


                                Notice Regarding Class Action Settlement

               AUTHORIZED BY THE U.S. DISTRICT COURT, EASTERN DISTRICT OF NEW YORK

  To merchants who previously received a Notice of Exclusion from Class Action Settlement
  because you were identified as a merchant related to a “Dismissed Plaintiff”

  Si desea leer este aviso en                   español,      llámenos     o   visite    nuestro     sitio   web,
  www.PaymentCardSettlement.com.

  A federal court directed this Notice. This is not a solicitation from a lawyer.

  This notice is authorized by the Court to follow up on the Notice of Exclusion from Class Action
  Settlement that previously was sent to you with respect to the settlement of a class action lawsuit,
  in In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL 1720
  (MKB) (JO). That Notice was sent to you because you were identified as a “Dismissed Plaintiff”
  excluded from the settlement and not eligible to receive settlement funds, except to the extent that
  you also accepted Visa and Mastercard cards in a capacity other than as a Dismissed Plaintiff. This
  follow-up notice is being sent to you because, depending on your circumstances as explained
  below, you may be eligible to make a claim for class settlement funds.

  The class action lawsuit claims that merchants paid excessive interchange fees to accept Visa and
  Mastercard cards because Visa and Mastercard, individually and together with banks, adopted
  rules and engaged in conduct that violated the antitrust laws. The Court initially approved a
  settlement with a class of merchants in 2012, but that approval was reversed on appeal. The Court
  now has approved a new settlement with a class of persons, businesses, and other entities that
  accepted Visa-Branded Cards and Mastercard-Branded Cards since January 1, 2004.

  The class and the settlement exclude “Dismissed Plaintiffs” that filed their own individual lawsuits
  against any Defendant1 separate from the class action lawsuit, and subsequently settled and


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        Defendants in this action are Visa U.S.A. Inc.; Visa International Service Association (also known as Visa
  International); Visa Inc.; Mastercard International Incorporated; Mastercard Incorporated; Bank of America, N.A.;
  BA Merchant Services LLC (formerly known as National Processing, Inc.); Bank of America Corporation; Barclays
  Bank plc; Barclays Delaware Holdings, LLC (formerly known as Juniper Financial Corporation); Barclays Bank
  Delaware (formerly known as Juniper Bank); Barclays Financial Corp.; Capital One Bank (USA), N.A.; Capital One
  F.S.B.; Capital One Financial Corporation; Chase Bank USA, N.A. (and as successor to Chase Manhattan Bank USA,
  N.A. and Bank One, Delaware, N.A.); Paymentech, LLC (and as successor to Chase Paymentech Solutions, LLC);


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  dismissed those individual lawsuits with prejudice. The class and the settlement also exclude as
  “Dismissed Plaintiffs” certain stores, locations, brand names, businesses, and additional entities
  that the Dismissed Plaintiffs identified as related to them.

  If you believe that [Name of Dismissed Plaintiff from Appendix B] had the authority to settle
  and release claims for you in its individual lawsuit by virtue of its relationship to you, then this
  Notice does not apply to you. You do not need to do anything in response to this Notice.

  However, if you believe that [Name of Dismissed Plaintiff from Appendix B] did not have
  authority to settle and release your claims in its individual lawsuit, this Notice applies to you. This
  Notice is to inform you that you can make a claim for class settlement funds if [Name of Dismissed
  Plaintiff from Appendix B] did not have authority to settle and release your claims.

  Further information about the class settlement, including how to make a claim to settlement funds
  and the basis on which those funds will be distributed, and the full terms of the class settlement
  agreement and its release of claims, is available at www.PaymentCardSettlement.com or by
  sending an email to info@PaymentCardSettlement.com or calling 1-800-625-6440.

  If you have any questions about this Notice or the class settlement, or how you may be eligible to
  participate in the settlement and make a claim for settlement funds, you should contact:

                                  Payment Card Interchange Fee Settlement
                                               P.O. Box 2530
                                         Portland, OR 97208-2530
                                              1-800-625-6440
                                     info@PaymentCardSettlement.com

  More information about the settlement is available at www.PaymentCardSettlement.com.




  JPMorgan Chase & Co. (and as successor to Bank One Corporation); JPMorgan Chase Bank, N.A. (and as successor
  to Washington Mutual Bank); Citibank, N.A.; Citigroup Inc.; Citicorp; Fifth Third Bancorp; First National Bank of
  Omaha; HSBC Finance Corporation; HSBC Bank USA, N.A.; HSBC North America Holdings Inc.; HSBC Holdings
  plc; HSBC Bank plc; The PNC Financial Services Group, Inc. (and as acquirer of National City Corporation); National
  City Corporation; National City Bank of Kentucky; SunTrust Banks, Inc.; SunTrust Bank; Texas Independent
  Bancshares, Inc.; and Wells Fargo & Company (and as successor to Wachovia Corporation).


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